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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                     Case No. 3:22cr37-TKW

ANTHONY MENTION
                                          /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, ANTHONY MENTION, to Counts One and Eleven through Twenty-

One of the Indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE and ORDERED this 17th day of January, 2023.




                                        __________________________________
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE
